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          FIL ED                     RP
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                   . BRUTO    N       UNITED STATES DISTRICT COURT
         THOMA.SDG
                 IS T R IC T COURT
      CLERK, U.S                      NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION


           UNITED STATES OF AMERICA                       )
                                                          )   Case No.      1:22-cr-00423
                       vs.                                )
                                                          )
           KRISHNASWAMI SRIRAM                            )   Violations:   26 U.S.C. § 7201
                                                          )                 26 U.S.C. § 7206(1)
                                                          )                 26 U.S.C. § 7206(2)
                                                          )      Judge Ronald A. Guzman
                                                          )
                                                                 Magistrate Judge Young B. Kim


                                                      COUNT ONE

                  The SPECIAL JULY 2021 GRAND JURY Charges:

                  1.         At times material to this Indictment:

                             a.    Defendant KRISHNASWAMI SRIRAM was a resident of Lake

          Forest, Illinois, and a practicing medical doctor.

                             b.    The Internal Revenue Service (IRS) was an agency within the

          United States Department of the Treasury and was responsible for enforcing and

          administering federal tax laws.

                 SRIRAM'S TAX DUE AND OWING AND IRS COLLECTION EFFORTS

                             c.    In or around August 2010, the IRS issued Notices of Deficiency to

          SRIRAM for tax years 1997, 1998, and 1999 that detailed the amount of individual

          income taxes, penalties, and interest he owed for those tax years.
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               d.   In or around November of 2010,       SRIRAM challenged these

assessments in the U.S. Tax Court.

               e.   In or around September 201I, pursuant to a stipulation entered

into by SRIRAM and the IRS, the U.S. Tax Court affirmed IRS assessments against

SRIRAM for individual income taxes, interest, and penalties for tax years 1997 ,1998,

and 1999 totaling approximately $760,000.

               f.   In or around April 20L3, SRIRAM filed a U.S. Individual Income

Tax Return, Form 1040, for tax year 2012 reporting a tax due and owing.

               g.   In or around September of 2072, the IRS filed a lien against
SRIRAM's home for the purpose of collecting SRIRAM's tax due and owing for tax

years 1997,1998, and 1999.

               h.   In or around February and March 2013, SRIRAM petitioned the

U.S. Tax Court challenging the IRS's efforts to collect SRIRAM's tax due and owing

for tax years 1997,1998, 1999, and 2001.

               i.   In or around January and February 20L4, pursuant to             a

stipulation entered into between SRIRAM and the IRS, the U.S. Tax Court affirmed

the IRS assessments against SRIRAM for tax years 1997,1998, 1999, and 2001 in a

total amount of approximately $1.6 million and ordered the IRS to    cease collection

efforts for a period of time to allow SRIRAM to submit a request for a collection

alternative.
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             j.     In or around June 9, 2014, SRIRAM submitted a false Offer in

Compromise, Form 656, accompanied by           a Collection Information Statement for
Wage Earners and Self-Employed Individuals, Form 433-4 (collectively referred to as

an "OIC"), to the IRS in an attempt to reduce his tax due and owing for tax years

1997, 1998, 1999, 2001, and 2012. The OIC was false because       it   omitted material

assets, income, interests, and expenses.

             k.     A Form 433-A requires,       among other things,   a complete   and

honest accounting of an individual's assets, income, interests, and expenses and is

submitted and signed under penalty of perjury. The purpose of submitting a Form

433-4 is to seek a determination by the IRS regarding whether to grant a partial or

complete reprieve from the total amount of a taxpayer's tax due and owing.

             l.     In or around June 25,2014, the IRS returned SRIRAM's OIC.

             m.     In or around December 2014, SRIRAM re-submitted a false OIC

omitting material assets, income, interests, and expenses, and the IRS rejected it in

or around November 2015.

             n.     In or around    December      20t5, SRIRAM appealed the       IRS's

rejection of his OIC.

             o.     From in or around December 20L5 through in or around April

2OI7, in support of his appeal, SRIRAM submitted statements and documentation to

the IRS Office of Appeals in support of the OIC that omitted material information




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regarding a complete and accurate description of his assets, income, and other

financial interests.

             p.        In or around August   20L7 , the   IRS Office of Appeals sustained the

rejection of SRIRAM's OIC.

                       SRIRAM'S OMITTED ASSETS AND INCOME

              q.       In or around November 2011,           SRIRAM quitclaimed a rental

property he owned in Arlington Heights, Illinois (Arlington Heights Property) to one

of his children, Child A.

              r.       In or around November 2011,           SRIRAM quitclaimed a rental

property he owned in Peekskill, New York (Peekskill Property) to two of his children,

Child A and Child B.

              s.       From in or around November 20tt through in or around the

beginning of 2016, SRIRAM continued to maintain ownership and control of both the

Arlington Heights Property and Peekskill Property by, among other things, collecting

rental income and paying property-related expenses. Child A and Child B did not

collect rental income and pay property-related expenses for the Arlington Heights

Property and Peekskill Property during this period.

              t.       In or around December 20L2, SRIRAM incorporated and caused

to be incorporated Lake Forest Cardiology, LLC (LFC) with the Illinois Secretary of

State. SRIRAM was the sole owner and shareholder of LFC and operated his medical

practice under LFC.


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             u.     In or around December 2012, SRIRAM         opened a business bank

account for LFC at US Bank.

             v.     In or around December of.20L2, SRIRAM also incorporated and

caused to be incorporated Home Doctor's Management, LLC (HDM) with the Illinois

Secretary of State. HDM purported to be a management company that managed

LFC's business. SRIRAM caused his three children to be equal one-third owners and

shareholders of HDM. SRIRAM caused his third child, Chitd C, to be listed as HDM's

registered agent in the company's articles of incorporation.

             w.     In or around January 2013, SRIRAM directed Chitd C to open
business bank accounts for HDM at Bank of America (BOA). Although registered

under Child C's name, SRIRAM maintained control over the bank accounts at BOA.

             x.     Beginning in or around 2011, SRIRAM owned and controlled an

account at Federal Bank Limited (FBL) in India.

             y.     From in or around January 2012 through at least in or around

January 2017, SRIRAM caused approximately $600,000 to be transferred from bank

accounts he owned and controlled in the United States, including HDM's accounts at

BOA, to his bank account at FBL.

             z.     From   in or around 2011 through at least December 2017,
SRIRAM owned and controlled a financial account at Calibre Consultants (also

known as Calibre Consultants Wealth Management), a firm in India, from which he

earned income.


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                aa.     From in or around January 2014 through at least in or around

December 20L7, SRIRAM owned and controlled             a financial account at Calibre
Financial Services Limited, a firm in India, from which he earned income.

                bb.     From in or around 2008 through in or around 2077, SRIRAM

maintained an investment account at The Vanguard Group, Inc. ffanguard). From

in or around June 2014 through in or around April 20\7, the account balance ranged

from approximately $54,000 to approximately $70,000.

        2.      From at least in or about November 2011 and continuing until in or

about   April   2017,   in the Northern District of Illinois, Eastern   Division, and

elsewhere,

                                KRISHNASWAMI SRIRAM

defendant herein, willfully attempted         to evade and defeat the payment of
approximately $1.6 million of individual income tax due and owing by him to the

United States of America, for tax years 7997, 1998, 1999, 2001, and 2012 by

committing the following affirmative acts, among others:

             a. filing and causing to be filed with the IRS false Offers in Compromise
                and supplemental documents and statements that concealed his income,

                assets, and other material information, including:

                   i.   his ownership, control, income from, and asset value of a bank

                        account in India at FBL;




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          ii.   his ownership, control, and asset value of an investment account

                at Vanguard;

         iii.   his ownership, control, income from, and asset value of a financial

                account   at Calibre Consultants (also known as            Calibre

                Consultants Wealth Management) ;

          iv.   his ownership, control, income from, and asset value of a financial

                account at Calibre Financial Services Limited;

          v. his ownership, control, income from, and asset value of the
                Arlington Heights Property; and

          vi. his ownership, control, income from, and asset value of the
                Peekskill Property.

    b. quitclaiming the Arlington Heights Property to Child A in or around
       November 2017;

    c. quitclaiming the Peekskill Property to Child A and Child B in or around
       November     201-1.;


    d. fiIing, and causing to be filed, with the IRS false personal           U.S.

       Individual Income Tax Returns, Forms 1040, for tax years 207I,20L2,

       2013, 20L4, 2015, and 2016 that did not report the income generated by

       his foreign financial accounts at FBL, Calibre Consultants, Calibre
       Financial Services Limited, and the income and expenses generated by

       the rental of the Arlington Heights Property and Peekskill Property;


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           e.   preparing and filing, and causing to be prepared and filed, with the IRS

                false U.S. Individual Income Tax Returns, Forms 1040, for Child A for

                tax years 2013 and 2014 that reported the income and           expenses

                generated by the rental of the Arlington Heights Property and Peekskill

                Property;

                preparing and filing, and causing to be prepared and fiIed, with the IRS

                false U.S. Individual Income Tax Returns, Forms 1040, for Child B for

                tax years 2014, 20L5, and 2016 that reported the income and expenses

                generated by the rental of the Arlington Heights Property and Peekskill

                Property;

           g. sending, and causing to be sent, money from bank       accounts he owned

                and controlled in the United States to a bank account he owned and

                controlled in India at FBL; and

           h. conducting, and causing to be conducted, personal financial affairs
                through the HDM business bank accounts at BOA.

      In violation of Title 26, United States Code, Section 720t.

                                         COUNT TWO

      The SPECIAL JULY 202L GRAND JURY further charges:

      1.        Paragraph 1 of Count One is incorporated here.

      2.        On or about June 23, 20L4, in the Northern District of Illinois, Eastern

Division, and elsewhere,


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                              KRISHNASWAMI SRIRAM

defendant herein, willfully made and subscribed, and filed and caused to be filed with

the Internal Revenue Service, a false U.S. Individual lncome Tax Return, Form 1040,

for tax year 2013, which was verified by a written declaration that it was made under

penalty of perjury and which SRIRAM did not believe to be true and correct as to

every material matter. The return contained the following falsities, among others:

         a. The tax return   included a declaration that the return and accompanying

             schedules and statements were true, correct, and complete.    In fact, as

             SRIRA.M knew, the return was not complete because      it failed to report
             SRIRAM's financial interests in, signature authority over, and income

             generated    by his foreign financial accounts at FBL, and        Calibre

             Consultants on a Schedule B attached to the Form 1040, as required.

         b. The return reported     $379   in interest income on Line 8a. In fact, as
             SRIRAM knew, he had received taxable interest income in excess of that

             amount from his foreign financial accounts at FBL, Calibre Consultants,

             and Calibre Financial Services.

         c. The return did not report the income and expenses related to the
             Arlington Heights Property and Peekskill Property on Line 17. The

             return reported $41,161 in income from his S-Corporation, LFC, on Line

             17.   In fact, as SRIRAM knew, he received rental income that he did not

             report.
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           d. The Schedule    E, Supplemental Income and Loss, attached to the Form

                1040 did not report any income or expenses related to the Arlington

                Heights Property and Peekskill Property. In fact, as SRIRAM knew, he

                received income from and paid expenses related to those Properties.


           e.   The return reported $183,647 in adjusted gross income on Line 37. In

                fact, as SRIRAM knew, he had adjusted gross income in excess of that

                amount.

      In violation of Title 26, United States Code, Section 7206(l).

                                       COUNT THREE

      The SPECIAL JULY 202L GRAND JURY further charges:

      1.        Paragraph 1 of Count One is incorporated here.

      2.        On or about June L, 2015, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                               KRISHNASWAMI SRIRAM

defendant herein, willfully made and subscribed, and filed and caused to be filed with

the Internal Revenue Service, a false U.S. Individual lncome Tax Return, Form 1040,

for tax year 20L4, which was verified by a written declaration that it was made under

penalty of perjury and which SRIRAM did not believe to be true and correct as to

every material matter. The return contained the following falsities, among others:

           a. The tax return   included a declaration that the return and accompanying

                schedules and statements were true, correct, and complete. In fact, as
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          SRIRAM knew, the return was not complete because       it failed to report
          SRIRAM's financial interests in, signature authority over, and income

          generated by his foreign financial accounts at FBL, Calibre Consultants,

          and Calibre Financial Services on a Schedule B attached to the Form

          1040, as required.


     b. The   return reported no taxable interest income on Line 8a. In fact, as

          SRIRAM knew, he had received taxable interest income from his foreign

          financial accounts at FBL, Calibre Consultants, and Calibre Financial

          Services.


     C.   The return did not report the income and expenses related to the

          Arlington Heights Property and Peekskill Property on Line 17. The

          return reported $223,308 in income from his S-Corporation, LFC, on

          Line 17. In fact, as SRIRAM knew, he had rental income and expenses

          that he did not report.

          The Schedule E, Supplemental Income and Loss, attached to the Form

          1040 did not report any income or expenses related to the Arlington

          Heights Property and Peekskill Property. In fact, as SRIRAM knew, he

          received income from and paid expenses related to those Properties.

     e.   The return reported $365,638 in adjusted gross income on Line 37. In

          fact, as SRIRAM knew, he had ad"justed. gross income in excess of that

          amount.
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      In violation of Tit1e 26, United States Code, Section 7206(7).

                                         COUNT FOUR

      The SPECIAL JULY 2021 GRAND JURY further charges:

      1.        Paragraph 1 of Count One is incorporated here.

      Z.        On or about   April L5,20L6, in the Northern District   of Illinois, Eastern

Division, and elsewhere,

                                KRISHNASWAMI SRIRAM

d.efendant herein,   willfully made and subscribed, and fiIed and   caused to be fiIed   with

the Internal Revenue Service, a false U.S. Individual Income Tax Return, Form 1040,

for tax year 2015, which was verifi.ed by a written declaration that it was made under

penalty of perjury and which SRIRA.M did not believe to be true and correct as to

every material matter. The return contained the following falsities, among others:

           a. The tax return    included a declaration that the return and accompanying

                sched"ules and statements were     true, correct, and complete. In fact,

                SRIRAM. knew the return was not complete because         it failed to report
                SRIRAM's financial interests in, signature authority over, and income

                generated by his foreign financial accounts at FBL, Calibre Consultants,

                and Calibre Financial Services on a Schedule B attached to the Form

                1040, as required.


           b.   The return reported no taxable interest income on Line 8a. In fact, as

                SRIRAM knew, he had received taxable interest income from his foreign

                                              L2
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                financial accounts at FBL, Calibre Consultants, and Calibre Financial

                Services.


         c.     The return did not report the income and expenses related to the

                Arlington Heights Property and Peekskill Property on Line 17. The

                return reported $221,505 in income from his S-corporation, LFC, on

                Line 17. In fact, as SRIRAM knew, he had rental income and expenses

                that he did not report.

           d. The Schedule E, Supplemental Income and Loss, attached to      the Form

                1040, did not report any income or expenses related to the Arlington

                Heights Property and Peekskill Property. In fact, as SRIRAM knew, he

                received income from and paid expenses related to those Properties.

           e.   The return reported $368,849 in adjusted gross income on Line 37. In

                fact, as SRIRAM knew, he had adjusted gross income in excess of that

                amount.

      In violation of Title 26, United States Code, Section 7206(l).



                                          COUNT FIVE

      The SPECIAL JULY kOLIGRAND JURY further charges:

      1.        Paragraph 1 of Count One is incorporated here.

      2.        On or about October L9, 2017, in the Northern District of Illinois,

Eastern Division, and elsewhere,
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                              KRISHNASWAMI SRIRAM

defendant herein, willfully made and subscribed, and filed and caused to be fiIed with

the Internal Revenue Service, a false U.S. Individual lncome Tax Return, Form 1040,

for tax year 20!6, which was verified by a written declaration that it was made under

penalty of perjury and which SRIRAM did not believe to be true and correct as to

every material matter. The return contained the following falsities, among others:

          a. The tax return   included a declaration that the return and accompanying

             schedules and statements were true, correct, and complete.       In   fact,

             SRIRAM knew the return was not complete because        it failed to report
             SRIRAM's fi.nancial interests in, signature authority over, and income

             generated by his foreign financial accounts at FBL, Calibre Consultants,

             and Calibre Financial Services on a Schedule B attached to the Form

             1040, as required.


          b. The return reported $49 in interest income on Line 8a. In fact,         as

             SRIRAM knew, he had received taxable interest income in excess of that

             amount due       to his   foreign financial accounts   at FBL,    Calibre

             Consultants, and Calibre Financial Services.

          c. The return did not report the income and expenses related to the
             Arlington Heights Property and Peekskill Property on Line 17. The

             return reported $259,223 in income from his S-Corporation, LFC,         on



                                           L4
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             Line 17. In fact, as SRIRAM knew, he had rental income and expenses

             that he did not report.

           d. The Schedule E, Supplemental Income       and Loss, attached to the Form

              1040, that did not report any income or expenses related to the   Arlington

             Heights Property and Peekskil Property. In fact, as SRIRAM knew, he

             received income from and paid expenses related to those Properties.

           e. The return reported   $405,788    in adjusted   gross income on Line 37.   In

              fact, as SRIRAM knew, he had adjusted gross income in excess of that

              amount.

      In violation of Title 26, United States Code, Section 7206(l).

                              COUNTS SD( THROUGH TEN

      The SPECIAL JULY 2021GRAND JURY further charges:

      1.      Paragraph 1 of Count One is incorporated here.

      2.      Beginning on or about the dates set forth below, in the Northern District

of Illinois, Eastern Division, and elsewhere,

                             KRISHNASWAMI SRIRAM

defendant herein, did willfully aid and assist in, and procure, counsel, and advise the

preparation and presentation to the Internal Revenue Service, of Child A's and Child

B's U.S. Individual Income Tax Returns, Forms 1040, for the tax years set forth

below. The individual income tax returns, fiIed in the Northern District of lllinois,

Eastern Division, were false and fraudulent as to material matters, including that
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they reported rental income and expenses from the Arlington Heights Property and

Peekskill Property, when SRIRAM knew that neither Child A nor Child B earned

income or paid expenses for the properties.

  COUNT      Taxnaver    DATE         TAX YEAR                    FALSE ITEMS
   SIX        child A   April   15,     2013        Form 1040, Line 17
                          20L4                      Form 8582, Passive Activity Loss Limitations
                                                    Scheduie E. Suoolemental Income and Loss
  SE\rEN      child A   April   15,     20r4        Form 1040, Line 17
                          2015                      Form 8582, Passive Activity Loss Limitations
                                                    Schedule E, Supplemental Income and Loss
   EIGHT      chitd B   April   15,     2014        Form 1040, Line 17
                          20t5                      Form 8582, Passive Activity Loss Limitations
                                                    Schedule E. Supplemental Income and Loss
   NINE       Child B   April 15,       2015        Form 1040, Line 17
                         20t6                       Form 8582, Passive Activity Loss Limitations
                                                    Schedule E. Supplemental Income and Loss
    TEN       child B   April   15,     20L6        Form 1040, Line 17
                          2017                      Schedule E, Supplemental Income and Loss


      In violation of Title 26, United States Code, Section 7206(2).


                                          A TRUE BILL:


                                           FOREPERSON



STUART M. GOLDBERG
Acting Deputy Assistant Attorney General for Criminal Matters
Department of Justice, Tax Division




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